Case 6:20-cv-00923-ADA Document 26 Filed 08/27/21 Page 1 of 4

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

 

WACO DIVISION
WSOU INVESTMENTS, LLC D/B/A
BRAZOS LICENSING AND DEVELOPMENT 6:20-CV-00923-ADA
VS. Case No.: 6:20-CV-00924-ADA
NEC CORPORATION 6:20-CV-00925-ADA

6:20-CV-00926-ADA
6:20-CV-00927-ADA

MOTION FOR ADMISSION PRO HAC VICE
TO THE HONORABLE JUDGE OF SAID COURT:

Comes now Joshua A. Whitehill , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent WSOU Investments, LLC in this case, and

would respectfully show the Court as follows:

l. Applicant is an attorney and a member of the law firm (or practices under the name of)

Kasowitz Benson Torres LLP with offices at:

 

Mailing address: 1633 Broadway

City, State, Zip Code: New York, NY 10019

Telephone: (212) 506-1917 Facsimile: (212) 835-5006

 

2. Since 2910 , Applicant has been and presently is a

member of and in good standing with the Bar of the State of New York

 

Applicant's bar license number is 4766473

 

 

 

Sy, Applicant has been admitted to practice before the following courts:
Court: Admission date:
NY State Bar 3/3/2010
SDNY 6/30/2010
EDNY 7/1/2014
US Ct. of Appeals for Federal Circuit 10/20/2011

 

US Ct. of Federal Claims 1/8/2020
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Applicant is presently a member in good standing of the bars of the courts listed above,
except as provided below (list any court named in the preceding paragraph before which

Applicant is no longer admitted to practice):

 

 

 

 

 

 

I have * have not previously applied to Appear Pro Hac Vice in this district

 

 

court in Case[s]:

 

 

 

 

Number: on the day of ,
Number: on the day of ;
Number: on the day of ;

 

 

Applicant has never been subject to grievance proceedings or involuntary removal
proceedings while a member of the bar of any state or federal court, except as

provided:

Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

except as provided below (omit minor traffic offenses):

Applicant has read and is familiar with the Local Rules of the Western District of Texas

and will comply with the standards of practice set out therein.
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9. Applicant will file an Application for Admission to Practice before the United States
District Court for the Western District of Texas, if so requested; or Applicant has
co-counsel in this case who is admitted to practice before the United States District

Court for the Western District of Texas.
Co-counsel; Mark Siegmund

Mailing address: 1508 North Valley Mills Drive

 

City, State, Zip Code: Waco, Texas 76710
Telephone: (254) 730-4421

 

Should the Court grant applicant's motion, Applicant shall tender the amount of $ —_.00 pro hac
vice fee in compliance with Local Court Rule AT-I(f)(2) [checks made payable to: Clerk, U.S. District

Court].

Wherefore, Applicant prays that this Court enter an order permitting the admission of

Joshua A. Whitehill to the Western District of Texas pro hac vice for this case only.

 

Respectfully submitted,

Joshua A. Whitehill
[printed name of Applicant]

Os. G Cubbie

— <r

( [signature of Applicant]

 

CERTIFICATE OF SERVICE

I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 26th day of August , 2021.

Joshua A. Whitehill
[printed name of Applicant]

 

  
 

 

(signature of Applicant]
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

WACO DIVISION y|

 

WSOU INVESTMENTS, LLC D/B/A

BRAZOS LICENSING AND

VS. Case No.: 6:20-CV-00923-ADA
NEC CORPORATION

ORDER
BE IT REMEMBERED on this day, there was presented to the Court the Motion for

Admission Pro Hac Vice filed by Joshua A. Whitehill , counsel for

 

WSOU Investments, LLC , and the Court, having reviewed the motion, enters

 

the following order:

IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Joshua A. Whitehill may appear on behalf of WSOU Investments, LLC

 

 

in the above case.

IT IS FURTHER ORDERED that Joshua A. Whitehill , if he/she

 

has not already done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
District Court, in compliance with Local Court Rule AT-I(f)(2).

SIGNED this the day of , 20

 

 

UNITED STATES DISTRICT JUDGE

 
